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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
       Plaintiff,                                 )             No. 6:19-CR-30-REW
                                                  )
 v.                                               )
                                                  )                     ORDER
 DUSTIN M. HURLEY,                                )

        Defendant.
                                        *** *** *** ***

       This matter is before the Court on the Recommended Disposition (DE 97) of United States

Magistrate Judge Hanly A. Ingram, addressing Defendant Dustin M. Hurley’s guilty plea as to the

sole count of the Indictment (DE 9). DE 96 (Minutes). Defendant appeared before Judge Ingram

on February 25, 2020. Id. After consenting to plead before a United States Magistrate Judge (DE

99) and engaging in the full colloquy required by Rule 11, he proceeded to plead guilty. DE 97.

Judge Ingram found Defendant competent to plead and that Defendant did so in a knowing and

voluntary fashion; he further found that an adequate factual basis supported the plea as to each

essential element of the charged offense. Id. Accordingly, Judge Ingram recommended that the

Court accept Defendant’s plea and adjudge him guilty of the offense charged in the sole count of

the Indictment. Id.

       Defendant had three days within which to object to Judge Ingram’s recommendation, and

he has not done so. Nor has the United States objected. While this Court reviews de novo those

portions of a Recommended Disposition to which a party objects, see 28 U.S.C. § 636(b)(1), it is

not required to “review . . . a magistrate[] [judge’s] factual or legal conclusions, under a de novo

or any other standard, when neither party objects to those findings.” Thomas v. Arn, 106 S. Ct.


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466, 472 (1985). When the parties do not object to the Magistrate Judge’s recommended

disposition, they waive any right to review. See Fed. R. Crim. P. 59(b); United States v. White, 874

F.3d 490, 495 (6th Cir. 2017) (“When a party . . . fails to lodge a specific objection to a particular

aspect of a magistrate judge’s report and recommendation, we consider that issue forfeited on

appeal.”); see also United States v. Branch, 537 F.3d 582, 587 (6th Cir. 2008) (noting that “[t]he

law in this Circuit is clear” that a party who fails to object to a magistrate judge’s recommendation

forfeits his right to appeal its adoption).

        The Court thus ADOPTS the Recommended Disposition (DE 97), accepts the plea, and

ADJUDGES Dustin M. Hurley guilty of the offense charged in the sole count of the Indictment.

The Court further CANCELS the jury trial (currently set for April 6, 2020) as to Hurley. An Order

scheduling sentencing follows. Defendant remains detained per prior Orders.

        This the 2nd day of March, 2020.




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